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UNITED STATES DISTRICT CO et
FOR THE USDC SDNY |
SOUTHERN DISTRICT OF NEW REKIVMENT
| ELECTRONICALLY FILED
UNITED STATES OF AMERICA | DOC fr. nie
| DATE FILED: __ [3 |AeI>
-\V- _— : =
21 CR 272-01 (CM)
Sabitri Laforest,
Defendant.

 

It is hereby ordered that the defendant, Sabitri Laforest, having been sentenced in the
above case to the custody of the Attorney General, is to surrender to the Attorney General by

reporting to the facility designated by the United States Bureau of Prisons, before 2:00 p.m., on

 

 

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UNITED STATES DISTRICT JUDGE DATE
Acknowledgment:

I agree to report as directed in this order and understand that if I fail to do so I may be

cited for contempt of court and if convicted of contempt may be punished by imprisonment or

fine or both.
avr Kip —— hho
AF — <V’

(Attorney/Witness) (Defendant)

cc: U.S. Marshal, SDNY
Probation Dept, SDNY
U.S. Attorney, SDNY
Pretrial Office, SDNY
Defense Counsel

 
